          Case 3:16-cr-01555-L               Document 69           Filed 08/15/16           PageID.187          Page 1 of 2

AO 245B (CASDRev. 081l3) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT                                               FI LEO
                                           SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A               'L-I'OcInIJ
                                                                                                               "AUG IS PIf 3:"
                                 v.
       JUAN MANUEL CHAVEZ·CONTRERAS (1)
                                                                        Case Number:         16CR155ML

                                                                     THOMAS SIMS
                                                                     Defendant's Attorney
REGISTRATION NO.                 56383298
o ­
THE DEFENDANT:
IZI pleaded guilty to count(s)          ONE (1) AND TWO (2) OF THE INFORMATION

       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Section                       Nature of Offense                                                                Number(s)
8 USC 1324(a)(2)(B)(iii)              BRINGING IN CERTAIN ALIENS WITHOUT                                                  1
AND 18:2                              PRESENTAnON
8 USC 1324(a)(I)(A)(ii),              TRANSPORT AnON OF CERTAIN ALIENS FOR FINANCIAL                                        2
(v)(U), AND (a)(1 )(B)(i)             GAIN AND AIDING AND ABETTING



    The defendant is sentenced as provided in pages 2 through                  2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
       Count(s)                                               IS           dismissed on the motion of the United States.

 IZI   Assessment: $200 ($100 EACH COUNTS 1-2) WAIVED



 IZI   No fine                        Forfeiture pursuant to order filed                                          , included herein.
       IT IS ORDERED that the defendant shall notiry the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notiry the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                           16CR1555-L
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                   JUAN MANUEL CHAVEZ-CONTRERAS (1)                                      Judgment - Page 2 of2
CASE NUMBER:                 16CR1555-L

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIX (6) MONTHS AS TO COUNTS 1-2, TO RUN CONCURRENTLY




 o        Sentence imposed pursuant to Title 8 USC Section l326(b).
 I;g]     The court makes the following recommendations to the Bureau of Prisons:
          THE COURT RECCOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
          WESTERN REGION.




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
          C    at
                    ----------------- A.M.                    on
                                                                   ------------------------------------
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o        Prisons:
          C    on or before
               as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

          Defendant delivered on
                                   ------------------------- to ------------------------------
 at
        ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                       By                   DEPUTY UNITED STATES MARSHAL



                                                                                                           16CR1555-L
